 Case 2:09-cr-00784-TS Document 273 Filed 11/10/10 PageID.1099 Page 1 of 2




             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  CENTRAL DIVISION




 UNITED STATES OF AMERICA,
          Plaintiff,                                MEMORANDUM DECISION AND
                                                    ORDER DENYING DEFENDANT
                                                    RAMIREZ’S EMERGENCY
                                                    MOTION FOR EARLY
                                                    DISCLOSURE OF
                                                    JENKS/IMPEACHMENT
                                                    MATERIAL


                  vs.


 SAVADOR RAMERIZ,                                   Case No. 2:09-CR-784 TS
          Defendant.




       Defendant Rameriz moved for early disclosure of Jencks1 material based on the

allegations that the government has provided late disclosure of materials. In a footnote,

Rameriz clarifies that the present motion is not directed at all prior statements of the

anticipated witnesses, but only seeks early disclosure of those statements containing

impeachment evidence “and identification of statements not solely ‘in the possession of the



      1
        The Jencks Act (18 U.S.C. § 3500), requires the government to produce at trial,
after a witness has testified, any previous statements given by that witness under
certain circumstances.

                                            1
 Case 2:09-cr-00784-TS Document 273 Filed 11/10/10 PageID.1100 Page 2 of 2




United States.’”2

       The government responds with its proffer of the disclosure in accordance with the

schedule set in this case. Included in that proffer is its early disclosure of some Jencks

materials made on November 2, 2010.

       The Court finds that the government should have already disclosed impeachment

evidence pursuant to its separate obligations under Giglio3 and other case law. The Court

finds that Defendant has not shown grounds for early disclosure of any Jencks materials

other than those already disclosed on November 2, 2010. It is therefore

       ORDERED that Defendant Ramirez’s Emergency Motion for Early Disclosure of

Jencks/Impeachment Material (Docket No. 268) is DENIED.

       DATED November 10, 2010.

                                              BY THE COURT:


                                              _____________________________________
                                              TED STEWART
                                              United States District Judge




       2
           Def.’s Mot. at 4, n.1.
       3
           Giglio v. United States, 405 U.S. 150, 154 (1972).

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